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                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

U.S. SECURITIES AND                       §
EXCHANGE COMMISSION                       §
                                          §
v.                                        § CIVIL NO. 4:20-CV-737-SDJ
                                          §
SEBASTIAN SILEA, ET AL.                   §

            JUDGMENT AS TO DEFENDANT SEBASTIAN SILEA

      The U.S. Securities and Exchange Commission (“Commission”) having filed a

Complaint and a First Amended Complaint and Defendant Sebastian Silea having

entered a general appearance; consented to the Court’s jurisdiction over Defendant

and the subject matter of this action; consented to entry of this Judgment;

acknowledged the Court’s Order granting Plaintiff’s Motion for Summary Judgment,

(Dkt. #83); waived findings of fact and conclusions of law; and waived any right to

appeal from this Judgment (but not the right to appeal from an order upon a motion

of the Commission as provided in paragraph VI):

                                          I.

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly, Section

10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)]

and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means

or instrumentality of interstate commerce, or of the mails, or of any facility of any

national securities exchange, in connection with the purchase or sale of any security:




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       (a)   to employ any device, scheme, or artifice to defraud;

       (b)   to make any untrue statement of a material fact or to omit to state a

             material fact necessary in order to make the statements made, in the

             light of the circumstances under which they were made, not misleading;

             or

       (c)   to engage in any act, practice, or course of business which operates or

             would operate as a fraud or deceit upon any person.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Judgment by personal service or

otherwise: (a) Defendant’s agents, servants, employees, and attorneys; and (b) other

persons in active concert or participation with Defendant or with anyone described in

(a).

                                           II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from violating Section 17(a)

of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or

sale of any security by the use of any means or instruments of transportation or

communication in interstate commerce or by use of the mails, directly or indirectly:

       (a)   to employ any device, scheme, or artifice to defraud;

       (b)   to obtain money or property by means of any untrue statement of a

             material fact or any omission of a material fact necessary in order to




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             make the statements made, in light of the circumstances under which

             they were made, not misleading; or

       (c)   to engage in any transaction, practice, or course of business which

             operates or would operate as a fraud or deceit upon the purchaser.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Judgment by personal service or

otherwise: (a) Defendant’s agents, servants, employees, and attorneys; and (b) other

persons in active concert or participation with Defendant or with anyone described in

(a).

                                          III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from violating Section 5 of

the Securities Act [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any

applicable exemption:

       (a)   Unless a registration statement is in effect as to a security, making use

             of any means or instruments of transportation or communication in

             interstate commerce or of the mails to sell such security through the use

             or medium of any prospectus or otherwise;

       (b)   Unless a registration statement is in effect as to a security, carrying or

             causing to be carried through the mails or in interstate commerce, by

             any means or instruments of transportation, any such security for the

             purpose of sale or for delivery after sale; or


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       (c)   Making use of any means or instruments of transportation or

             communication in interstate commerce or of the mails to offer to sell or

             offer to buy through the use or medium of any prospectus or otherwise

             any security, unless a registration statement has been filed with the

             Commission as to such security, or while the registration statement is

             the subject of a refusal order or stop order or (prior to the effective date

             of the registration statement) any public proceeding or examination

             under Section 8 of the Securities Act [15 U.S.C. § 77h].

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Judgment by personal service or

otherwise: (a) Defendant’s agents, servants, employees, and attorneys; and (b) other

persons in active concert or participation with Defendant or with anyone described in

(a).

                                          IV.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is liable, jointly and severally with Defendants Christian Kranenberg

and KS Cartel LLC, for disgorgement of $66,183.01, representing net profits gained

as a result of the conduct alleged in the First Amended Complaint, together with

prejudgment interest thereon in the amount of $4,475.28, and that Defendant is

liable individually for a civil penalty in the amount of $195,047 pursuant to Section

20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange

Act [15 U.S.C. § 78u(d)(3)]. Defendant shall satisfy this obligation by paying


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$265,705.29 to the Securities and Exchange Commission pursuant to the terms of the

payment schedule set forth in paragraph V below after entry of this Judgment.

      Defendant may transmit payment electronically to the Commission, which will

provide detailed ACH transfer/Fedwire instructions upon request. Payment may also

be made directly from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check,

bank cashier’s check, or United States postal money order payable to the Securities

and Exchange Commission, which shall be delivered or mailed to:

      Enterprise Services Center
      Accounts Receivable Branch
      6500 South MacArthur Boulevard
      Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number,

and name of this Court; Sebastian Silea as a defendant in this action; and specifying

that payment is made pursuant to this Judgment.

      Defendant shall simultaneously transmit photocopies of evidence of payment

and case identifying information to the Commission’s counsel in this action. By

making this payment, Defendant relinquishes all legal and equitable right, title, and

interest in such funds and no part of the funds shall be returned to Defendant.

      The Commission may enforce the Court’s judgment for disgorgement and

prejudgment interest by using all collection procedures authorized by law, including,

but not limited to, moving for civil contempt at any time after 30 days following entry

of this Judgment.




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         The Commission may enforce the Court’s judgment for penalties by the use of

all collection procedures authorized by law, including the Federal Debt Collection

Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil contempt for the

violation of any Court orders issued in this action. Defendant shall pay post judgment

interest on any amounts due after 30 days of the entry of this Judgment pursuant to

28 U.S.C. § 1961. The Commission shall hold the funds, together with any interest

and income earned thereon (collectively, the “Fund”), pending further order of the

Court.

         The Commission may propose a plan to distribute the Fund subject to the

Court’s approval. Such a plan may provide that the Fund shall be distributed

pursuant to the Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act of

2002. The Court shall retain jurisdiction over the administration of any distribution

of the Fund and the Fund may only be disbursed pursuant to an Order of the Court.

         Regardless of whether any such Fair Fund distribution is made, amounts

ordered to be paid as civil penalties pursuant to this Judgment shall be treated as

penalties paid to the government for all purposes, including all tax purposes. To

preserve the deterrent effect of the civil penalty, Defendant shall not, after offset or

reduction of any award of compensatory damages in any Related Investor Action

based on Defendant’s payment of disgorgement in this action, argue that he is

entitled to, nor shall he further benefit by, offset or reduction of such compensatory

damages award by the amount of any part of Defendant’s payment of a civil penalty

in this action (“Penalty Offset”). If the court in any Related Investor Action grants

such a Penalty Offset, Defendant shall, within 30 days after entry of a final order


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granting the Penalty Offset, notify the Commission’s counsel in this action and pay

the amount of the Penalty Offset to the United States Treasury or to a Fair Fund, as

the Commission directs. Such a payment shall not be deemed an additional civil

penalty and shall not be deemed to change the amount of the civil penalty imposed

in this Judgment. For purposes of this paragraph, a “Related Investor Action” means

a private damages action brought against Defendant by or on behalf of one or more

investors based on substantially the same facts as alleged in the First Amended

Complaint in this action.

                                         V.

      Defendant shall pay the total of disgorgement and prejudgment interest of

$70,658.29 (on a joint and several basis with Defendants Christian Kranenberg and

KS Cartel LLC) within 30 days of entry of this Judgment. Defendant shall pay the

penalty due of $195,047 in four installments to the Commission according to the

following schedule: (1) $48,761.75, within 90 days of entry of this Judgment;

(2) $48,761.75, within 180 days of entry of this Judgment; (3) $48,761.75, within 270

days of entry of this Judgment; and (4) $48,761.75, within 360 days of entry of this

Judgment. Payments shall be deemed made on the date they are received by the

Commission and shall be applied first to post judgment interest, which accrues

pursuant to 28 U.S.C. § 1961 on any unpaid amounts due after 30 days of the entry

of Judgment. Prior to making the final payment set forth herein, Defendant shall

contact the staff of the Commission for the amount due for the final payment.

      If Defendant fails to make any payment by the date agreed and/or in the

amount agreed according to the schedule set forth above, all outstanding payments


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under this Judgment, including post-judgment interest, minus any payments made,

shall become due and payable immediately at the discretion of the staff of the

Commission without further application to the Court.

                                          VI.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that upon motion of the Commission, the Court shall determine whether to enjoin

Defendant, from directly or indirectly, including but not limited to, through any entity

owned or controlled by Defendant, participating in the issuance, purchase, offer, or

sale of any security; provided, however, that such injunction shall not prevent

Defendant from purchasing or selling securities for his own personal account (such

injunction, a “Conduct-Based Injunction” or “CBI”). In connection with the

Commission’s motion for a CBI, and at any hearing held on such a motion:

(a) Defendant will be precluded from arguing that he did not violate the federal

securities laws as alleged in the First Amended Complaint; (b) Defendant may not

challenge the validity of the Consent or this Judgment; (c) Defendant does not waive

and thereby preserves the right to appeal solely from the order entered on the

Commission’s motion for a CBI; and (d) the Court may determine the issues raised in

the motion on the basis of affidavits, declarations, excerpts of sworn deposition or

investigative testimony, and documentary evidence, without regard to the standards

for summary judgment contained in Rule 56(c) of the Federal Rules of Civil

Procedure. In connection with the Commission’s motion for a CBI, the parties may

take discovery, including discovery from appropriate non-parties.




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                                         VII.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth

herein, and that Defendant shall comply with all of the undertakings and agreements

set forth therein.

                                         VIII.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely

for purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy

Code, 11 U.S.C. § 523, the allegations in the First Amended Complaint are true and

admitted by Defendant, and further, any debt for disgorgement, prejudgment

interest, civil penalty or other amounts due by Defendant under this Judgment or

any other judgment, order, consent order, decree or settlement agreement entered in
      .
connection with this proceeding, is a debt for the violation by Defendant of the federal

securities laws or any regulation or order issued under such laws, as set forth in

Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                          IX.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this

Court shall retain jurisdiction of this matter for the purposes of enforcing the terms

of this Judgment.
          So ORDERED and SIGNED this 24th day of March, 2022.




                                                      ____________________________________
                                                      SEAN D. JORDAN
                                                      UNITED STATES DISTRICT JUDGE


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